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MOR-‘l UNITED STATES BANK.RUPTCY COURT
cAsENAME: Bendco. lnc. PETmoN oArl.=.- 2128!18
cAsE NUMBER.- 18-30849 o:srmcr oF TExAs.- Southem
PROPOSED FLAN 0A1'E.- D:v:srolv: Houston
MONTHLY OPERA TlNG REPORT SUMMARY FOR MONTH Ju 2018

BEFORE lNT' DEP

YMEN`IS TO lNSIDERS
A

 

***The original of this document must be filed with the United States Bankruptcy Court and a copy must be sent to the United States Trustee***

 

 

 

 

 

 

 

 

 

 

 

 
  

 

 

come one
REQU.IRED !NSURANCE MA!N TAI‘NED Ara atl accounts receivah!a being collected within terms? Yos .
AS OF S!GNATURE DATE EXP. Ara aff pos!-petl!lon flabllmss. !nc!udlng taxes, being paid within terms? Yes @o)
DATE Ha ve any pre-petition riehl/liles been pa!d? ¥as 633
cAsuALrv YEs 50 No¢ ) _1- fH-__LH :rso, demise
UAB!UTY YES M NO{ ) __H; _5_-_1_°¥_ Aro a!l hinds received being dapos.‘ted into DIP bank accounls? ‘¢ei N'o
vEH:cLE yes 69 No{ ) jL-_!{,_»_IQ wm any assess disposed demise ma normal course ornasmass? res 63
woRKER's YEs 50 No{ ,\ ja _15{: __]j_ :rso, describe
OmER YES w NO( ) i-_i-ji Ara all U.S. Trusree Quarteuy Fee Fayments cunant? &s/ No
tht is the s!a!us ofyour Flan of Reorganfzallon? %,,Q / /Vg)
_ __/
ATTORNEY NA ME.- E-`tdf\£k¢'¢` FlAq Lw\, ] cer!i)jz under penalty que)jwy that thejbllowing complete
FIRMNAME.» w ]g g § g §o[jg'q§g§ , P .L. Momhh) Operan‘ng Repart (MOR), consisting ofMOR-! !hrough
JDDR£.SS: _j ' _ MOR-9 plus a!tgchme is ime and carrecr.
Su;\ \~e, 250 ’F”" ‘ ` '
cm'. m rs le.- --~ if gm '

_________,___________________n . M
TELEPHONHFAX-' `1\‘5 - ‘ian ~ OD.'T_( "/j”” UM?SFGNAH /
m c h /\ i/\,Q ©‘* 7 217 g
MOR-'l (PR:Nr NAME oF sfsNA foam \)/ mrs

CASE NAME:
CASE. NUMBER:

Bendco, lnc.

ASSETS

. Lo\vcr ofCosl or Markcl

nves!mcnts

Nel

AL CURRENT ASSETS
OPERT`Y PLANT & IP.

Accumulz\lcd

BOOK VALUE OF PP & 13

ASSE'I`S
1. AIR

2. on Forklii\

3. E|cclric
4.
T

l

MOR~Z

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18-30849

COST

COMPARATIVE BALANCE SHEE'I`S

F:L:NG DATE¢
Feb. 28, 2018

618.87

167 07.97
3 798.00
0.00

0.00

177 724.84
7 1 55.88
014 927.32
l 628.56

5 720.00
0.00
950.00

023

March 2013

17 412.74
219 75
3 798.00
0.00

0.00

0.00

2 473.49
7 641 55.88
6 029 969.48
1 611 40

5 720.00
5 00.00
950.00

122

April 2013

.40

237 7.49
3798.00
0.00

0.00

0.00

323 34.89
7641 55.88
04 011.64
1 96 .24

572 720.00
5 .00
' 950.00

Mny 2018

64 768.58
334 912.84
3 798.00

5 000.00

479.42
7 64 55.88
6 053.80
1 81 .08

5 720.00
5 .00
950.00

15

Jum:2018

9 916.09
51 635.15
3 798.00
5 000.00

537 9.24
7 1 1.72
075 095.96
1 663 15.76

5 720.00
5 00.00
950.00

735

JuIy 2018

171 7.48
483 929.55
3 798.00
5 000.00

664 5.03
7 7 l 1.72
090 138.12
1 173.60

5 720.00
5 .00
950.00

163

MONTH

 

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CASE NAME: Bendco, |nc.

cASE NLIMBER: 18-30849

ILITIES & OWNER'S
UITY

-PET|TION LlAB|
LlAml.lTll§S
Nolcs - Sccurcd
Deb1
F ederal lm:omc Tax

Unsccured cht

Othcr

OTAL PRE-['ETIT!ON Ll¢'\l]ll.l'l`|ES

Al.. LIAB¥L|TIES
WNER’S l'I`Y

PREl-‘ERRED sTOCK

coMMON STOCK

ADDITIONAL [’AlD-EN CM’ITA|.

RE`I`AINED F,ARNINUS: Dnlc

RETAINED FJ\RNENGS: Pus£ Dnlc
AL O\vNER'S \VORT|

ILITIES &
WNBRS EQUITY

MOR-3

COMPARATIVE BALANCE SHEETS

F:LlNG DATE- March 2018

001.80

1 706 046.00

1 5 069.55 1 965 069.55

3 671 115.55
3 695 117.35

3 671 115.55
3 671 115.55

1 000.00 1 000.
15 .00 15 .00
-l 09 92.15 -1 09 92.15
29 .69
-l 3092.15 ~1 .46

78 023.40 $2 431 229.89

* Per Schcduics and Statcment of

Apr][l{!l$

359 173.91

l 701 .00

1 965 069.55

3 1 15.55
3 725 .46

l 000.00

15 .00

-1 92. 15
66 1.82
~1,226,240.33

499 049.13

Mny 2018

5145

l 696 046.00

1 965 069.55

3 1 115.55
3 08.53

1 000.00

15 00

-1 92.15
55 735.13
-1,237,357.02

569 151.50

Page 3 of 10

Junc 2018 .luly 2018

645.12
1 691 046.00
1 965 069.55 1 069.55

3 651 115,55
4005

3 656 115.55
3 760.67

l .00 1 000.00

1 .00 15 .00

al 92.15 -1 592.15
11 49 17 768.2|
~1 177 025.66 ~1 114 23.94

779 735.00 1 618.63

MONTH

 

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cAsE NAME: Bendco. |nc.
cASE NuMBER: 18~30849

SCHEDULE OF P()ST-PE'I`ITION LIABILITIES
Mm'ch 2018 Apr112018 Mny 2018 .lune 2013 duly 2018 MONTH

ACCOUNTS PA YABLE $13 967.29 $27 4.58 9 l 099.76 .34

AX PAYABLE
chem! Taxes

Smle Taxes
Ad Valorem '[`axes 1 l 000.00 11 000.00 ll 000.00

Olher 'I`axes 10 034.51 013.66 19 .37 37 5. 16 53 5.62

Al. TAXES PAYABLE 10 034.51 22 018.66 53 737.11 1 27.87 147 51.32

10 G & A Outsourcin S¢:c addendum 10 MOR- 4 122.95 122.95 4 122.95

DEBT POST-PBTITION 755.84 95 33.09
CCRUED INTEREST PAYABLE

CCRUED PROFESSIONAL FEES"
ER ACCRUED L\AB1L1T1ES

23 483.7 55 532.71 83 005.70

39 484.70 45 138.70 61 35.32

 

AL POST-P BILITIES OR- 4 001.80 9 173.91 3145 392.98 $300 645.12 54 827.02

l’aymcnt req
MOR-4

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case NAME: Bendco. 1nc.
cAst-: NuMnER: 18-30849

 

MON'I`H
March 2018
oAYs 1 189
31~60 .
61-90 nms 738.98

91+ DAYS

MOR-S

Accrued expenses lncluded |n Acooun£s pa

AG|NG oF PosT~rETI'rloN LlAnmeEs
July 2013

FEDERAL
TAXES

47 17.72

.34 $47 17.72

AG|NG OF ACCOUNTS R.ECEIVABLE

June 2018
374 .48
06
44 622.63
27 118.98

50.00

AD VALOREM,
OTHER TAXES

11

‘1.80
65 723.93
31

 

cASE NAME: Bendco. lnc.
cASE NuMBER: 18-30849

STATEMENT 0F INCOME (LOSS)

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Mar0112018 Apri12018 May 2018 .Iunc 2018 duly 2013 MONTI| FlLIN(: "m
DATE
nEqul_=Es (MoR-l) 225,185.00 255,3 82.50 257,013.36 327,663.80 347,433.02 1,412,677.68
roTAL cosT oF REvENuns 145,93 0.99 l 10,937.65 131 ,613.86 132,303.69 125,065.32 645,851.51
moss mem 79 254 01 144 444 85 125 399 50 195 360 11 222 367 70 766 826 17
opEnMINc EonNses=
Sc[fing & Markcling 0.00 1,259.67 0.00 1,259.67
Gem:m| & Administmcivc 16,827.89 25,214.49 54,161.81 67,296.51 71,572.30 235,073.00
Insidcrs Compcnsalion 10,416.00 17,916.00 19,866.00 12,916.00 20,416.00 81,530.00
I’rof`essiona| Fecs 0.00 9,930.67 29,554.03 5,654.00 16,396.62 61,535.32
Insumncc 0.00 18,686.94 8,587.60 7,082.64 8,172.02 42,529.20
Pmpeny Tnxcs 0.00 10,000.00 11,000.00 l 1,000.00 1 1,000.00 43,000.00
Tor,\l. ovenAT:Nc Epr.Nsc»:s 27,243.89 81,748.10 124,429.1 1 103,949.15 127,556.94 0.00 464,927.19
lNcoMlz BF.I~'oRF. lN'r, DEF'nm\x (MOR-s) 52,010.12 62,696.75 970.39 91,410.96 94,810.76 0.00 301,898.98
||lmmm- nxmse 0.00 402.25 402.25
||Dm»g~.;cm¢o» 15,042.16 15,042.16 15,042.16 '15,042.16 15,042.16 75,210.30
1|0THER(1N¢:0ME} ExPENsH* 0.00 0,00
10?1-1:1111'1[€1¢13" 0.00 0.00
ToTAL lNT. DEPR& o'mER iTEMs 15,042.16 15,042.16 15,042. 16 15,042. 16 15,444.41 0.00 75,613.05
NET INCOME BEFORE TAxEs 36,967.96 47,654.59 -14,071.77 76,368.80 79,366.35 0.00 226,285.93
ill»EDwL lNCOME mm 7,763.27 10,007.46 -2,955.07 16,037.44 16,664.62 47,517.72
J|NETINCQME¢LOSS, <M@R..) $29.204.69 $37,647.13 ($11,1 16.70) $60,331 .36 $62,701.73 $0.00 $178,763.21

 

 

 

 

 

 

 

 

 

Jccrua} Accounlfng Raq'nirorl, 01hz'r1\'isc Fonmare 1\'11/1 Er;)fruran'nu.

* Foa.mah.' Mmlr{afarj)'.

' ’ Uuwr:.ul ¢ran/ur in ruqlrr:nr Ir¢:rrr(s) outside 1110 ordinary course of business reqzal'r¢.-sfauumfe.

MOR~6

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cAsE NAME: Bendco, lnc.
cAsE NuMBER: 18-30049

RECEII’TS AND toNTll FlLlNc.' To

lSBURSEMENTS
1. C.¢\SH-BEOINNENG 01" MONTH

. CASHSALES
. COLLECT[ON OF ACCOUNTS RECEIVABLE
. LOANS &ADVANCES nl\ncli
. S»"\LE OF .I\SSETS
. O'I`HER nllnch
I\L RECE|PTS"
Conlribulion lndividunl D¢:btor MFR-Z*

. NET PAYROLL
. I'AYROLL TAXES I'A|[)
USE & 0“1"1~11`:1§ TAXES PAED
S£CUREDFRENTAULEASES
. UTiLlT|ES & TELEPHONE
lNSURANCE
lNVENTORY I‘URCHASES
. VEH|CLE EXPENSES
TRAVEL & ENTERTAINMENT-
MA|NTIENANCE & SUPI’L|ES
. ADM|N|STR:‘\'|`IVE & SELLING
. 0'1‘111£1{ nllnc!\
AL E)ISBURSEMENTS FROM OPERATIONS
. 1’ROFESS|0N1\L FEES
U.S. TRUSTEE FEES
. OTHER REORGAN|ZAT|ON EXI‘ENSES attach
AL. DlSHURSEMENTS**
NET CASH FLO\'\'
OF MONTH

MOR-7

Addencium

Murch 2018
618.87

97181.33

158.79

403.88

77,463.59
175 7.59

17 7,59
10 793.87
$ 7 7

10

Aprn 2018
317 412.74

241 655.29

89 715.85

12.67

10 000.00

5 836.19
686

146.37
55.43
378.95

59 411.23
17 443.63

325.00
17 768.63

64 886.66
.40

May 2013
$82,299.40

122.95
227 701.13

100 092.25

4 672.73
10 000.00
16 195.18
10 702.50

40.00
453.67
l 695.33

80.29
2 1.95
5 000.00

245 1.95
-17 530.82
58

**Numbcrs for ll\c current month should balance (malc!\)
RECE|P'[`S nnd C|'IECKSIO'1'1'1ER DISBURSEMENTS iincs on MOI{-S

Jlillc 2018
$64,768.58

15 775.60

15 775.60

104 15.88

143.50
1 000.00
1 122.31
4659.74

75 881.16
207 628.09

207 628.09
~54 852.49

.fllly 2018 TE

$9,916.09

90 783.94

1 .88
10 000.00
14 018.66
10 663.02

15 730.50

75 .17
217 774.17

925.00
699.17
161 .39
1 l 48

$171,547.48

3171,485.48

0.00

0.00

0.00
0.00
48

618,87

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4 122.9
1 190 402.
0.

.2
0.
8 71.
40 000.
172.
34 71
0.
345.1
509.1
1 208.
0.
384 476.
l 017 .4
5 000
3 0.
0.
1025 35.4
164 866.61
1 1485

 

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sE NAME: Bendco. lnc.
sE NuMBER: 18-30849

 

 

10THER DISBURSEMENTS

Cost of sales

General & administrative expenses
Property Tax

G & A Parmers

Ascentium Capital

Total

Addeudum to MOR-7

Other Cash Receipts
G & A Outsourcing refund

 

 

 

 

 

 

 

EMoNT=_é-“ Mox~mi MoNTH_" luon MoNTH EMON'm lm__|
Mal'ch 2018 Apl'il 2018 May 2018 Jllne 2018 July 2018 l DATE _
$60,635.70 $27,208.01 $3 9,703.91 $22,344.27 $42,289.40 $0.00 $192,681.29
315,827.89 $5,515.02 $41.92 $37,036.89 $17,050.77 $0.00 $76,472.49
$0.09 $10,000.00 $22,000.00 $l 1,000.00 $11,000.00 $54,000.00
$0.00 $1. 1,683.20 $29,634.46 $0.00 $41,322.66
$0.00 $5,000.00 $5,000.00 $5,000.0{1 $5,000.00 $20,000.00
$0.00 $0.00 $0.00
$77,463.59 $59,41 1.23 $96,380.29 $75,881.16 $75,34-0.17 $0.00 $384,476.44

$42,122.95 This amount was refunded by G & A Gutsourcing
on May 4 with notice that they were applying all
other payments received post-petition ($37,699.71)

to amounts owed pre-petition

The refund amount has been shown as a post-

petition liability on the balance sheet.

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case NAMF.: Bendoo. |m:.
cAsE uumsen: 18-30849

CASH ACCOUNT RECONCILIATION
MONTI-I OF July 2018

oPEnAriNG PA Ynoi.r.
BALANCE l 403.84
m'rRANs:T 1
ANmNG cnsci<s 1 .46
BANK nA:.ANcE $1

CASH ¢ PER BOOKS

BETWEEN ACCOUNTS

DEBTOR MFR-2
DISBURSEMENTS* .17 0.00
- BOOKS

MOR-8 *Numhers should balance (macch) 'ro'rAL REcEiP'rs and
roTAL msBuRsBMENTs iines on MoR-'r

 

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owns vaos Ai.
10 $174 .94
$ 30.00
$1 .46
$l71 16.48
16.09

$0.00

.00
.l
7.48

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case NAME: Bandoo. |nc.
ones NuMsER: 18-30849

PAYMENTS TO INSIDERS AND PROFESSIONALS
01` the` total disbursements shown for the month, list the amount paid to insiders (as donned in Section lOl{Jl}(A)-(F) ofthe U.S. Bankrupicy Code) and the professionals

March 2018 April 2018 May 2018 June 2013 July 2018 ' MONTH
1NSlDERS: NAMFJCOMP TYPE

. Rick $5,416.00 $6,666.00
. John .00 $6,250.00
. Riek $2,000.00

. John

l

March 2018 April 2018 June 2018 2018 MONTH

PR.OFESSIONALS

Crafi & Schuiz~relainer

 

MOR-9

